                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF TENNESSEE
                               AT NASHVILLE

UNITED STATES OF AMERICA                    )
                                            )        CASE NO. 3:14-00105
vs.                                         )        CHIEF JUDGE KEVIN H. SHARP
                                            )
ARMANDO PASCUAL-MARTIN                      )

                            SENTENCING MEMORANDUM

         Comes now Armando Pascual-Martin, by and through counsel of record, Paul Bruno,

and hereby requests the Court to sentence him to time served as recommended by the

parties. The U.S.S.G. advisory sentencing range in this case is 0 to 6 months. Mr. Pascual-

Martin has no criminal history points and has been in custody since June 12, 2014.

         In addition, Mr. Pascual-Martin requests the Court to not sentence him to a period of

supervised release pursuant to U.S.S.G. §5D1.1(c). If, however, the Court determines that a

period of supervised released is needed in this case, Mr. Pascual-Martin requests the Court to

sentence him to one year of supervised release.

         Finally, Mr. Pascual-Martin requests the Court to waive any fine and costs in this

matter as Mr. Pascual-Martin is not able to pay a fine and costs at this time.

                                                     Respectfully submitted,

                                                     s/ Paul Bruno
                                                     Paul Bruno, B.P.R. #17275
                                                     Attorney for Armando Pascual-Martin
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                             CERTIFICATE OF SERVICE

       I hereby certify that a true and exact copy of the foregoing Sentencing Memorandum has
been electronically delivered to Hilliard Hester, Assistant United States Attorney, 110 Ninth
Avenue, South, Suite A961, Nashville, TN 37203-3870, on this the 6th day of October, 2014.

                                                  s/ Paul Bruno
                                                  Paul Bruno




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